Case o-Lo-/oo40-reg VOC sVo-c Filed U4icoilf Entered O4/co/1l/ Liile:Qo

Exhibit B
Case o-Lo-/oo40-reg VOC sVo-c Filed U4icoilf Entered O4/co/1l/ Liile:Qo

In re: Dowling College

Chapter 11 — Case No. 16-75545 (REG)

PROFESSIONALS LIST

December 12, 2016 through and including March 31, 2017

 

NEW YORK BAR

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PARTNERS ADMISSION YEAR HOURS RATE AMOUNT BLENDED
RATE
Anthony C. Acampora 1984 77.30 $625.00 $48,312.50
Ronald J. Friedman 1997 62.40 $585.00 $36,504.00
Gerard R. Luckman 1994 86.00 $585.00 $50,310.00
Kenneth P. Silverman 1981 0.50 $0.00 $0.00
52.70 $695.00 $36,626.50
Patricia M. Colgan 1986 0.30 $425.00 $127.50
279.20 $171,880.20 $615.61
COUNSEL
Jack B. Friedman 1970 0.80 $495.00 $396.00
0.80 $396.00 $495.00
ASSOCIATES
Janet F. Brunell 1988 5.50 $300.00 $1,650.00
Brian Powers 2013 43.50 $300.00 $12,630.00
65.40 $325.00 $19,110.00
114.40 $31,905.00 $278.89
PARALEGALS
Lynne M. Manzolillo 1.20 $210.00 $252.00
1.20 $252.00 $210.00
LEGAL ASSISTANT
Melissa Cohen 0.10 $140.00 $14.00
0.20 $150.00 $30.00
Sheree B. King 0.20 $150.00 $30.00
0.50 $74.00 $148.00
TOTAL 396.10 $205,992.50
BLENDED HOURLY
RATE: $520.05

 

 

 

 

 

BPOWERS/2058966. 1/066648

 
